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                       IN THE UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13
14
15   JOSE ANTHONY BORJA,                      CV 09-2420 DDP (SS)
16                                Petitioner, ANSWER TO PETITION FOR
                                              WRIT OF HABEAS CORPUS;
17               v.                           MEMORANDUM OF POINTS AND
                                              AUTHORITIES
18   MATTHEW CATE, CDCR,
     Secretary,
19
                                Respondent.
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 1        Respondent, James A. Yates, 1 Warden of the Pleasant Valley State Prison at
 2   Coalinga, California, hereby submits this Answer to the Petition for Writ of Habeas
 3   Corpus (“Petition”), and admits, denies and alleges as follows:
 4        1. Petitioner is in Respondent’s custody pursuant to a valid judgment of
 5   conviction in Los Angeles County Superior Court Case No. KA073052.
 6        2. The Petition appears to be timely.
 7        3. The claims in the Petition appear to be exhausted in the state courts.
 8        4. Ground One of the Petition should be dismissed as being not cognizable for
 9   failing to present a federal constitutional question. See 28 U.S.C. § 2254(a).
10        5. Grounds One through Three of the Petition should be denied and dismissed
11   with prejudice because the California Court of Appeal’s denial of relief on these
12   claims was neither contrary to, nor an unreasonable application of, clearly
13   established Supreme Court precedent, nor was the denial of relief based upon an
14   unreasonable determination of the facts presented in the state court proceedings.
15   See 28 U.S.C. § 2254(d).
16        6. No claim in the Petition appears to be procedurally barred.
17        7. No claim in the Petition appears to be barred by the non-retroactivity
18   doctrine set forth in Teague v. Lane, 489 U.S. 288, 109 S. Ct. 1060, 103 L. Ed. 2d
19   334 (1989).
20        8. No evidentiary hearing is necessary to resolve any of the claims alleged in
21   the Petition, nor has Petitioner demonstrated that one is warranted under 28 U.S.C.
22   § 2254(e).
23        9. This Answer is based on the records and files in this case; the Memorandum
24   of Points and Authorities filed herewith; the documents lodged concurrently with
25   this pleading (“LD”), including the Clerk’s Transcripts (“CT”; LD K) and
26
           1
             James A. Yates is the warden of the prison where Petitioner is currently
27   incarcerated. Substitution of the proper custodian’s name is authorized by Federal
     Rule of Civil Procedure 25(d).
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  1   Reporter’s Transcripts (“RT”; LD L) which were prepared in connection with
  2   Petitioner’s state appeal.
  3        10. Except as herein expressly admitted, Respondent denies each and every
  4   allegation of the Petition and specifically denies that Petitioner’s confinement is
  5   improper, denies that any judgment underlying Petitioner’s confinement is
  6   improper, and denies that Petitioner’s rights are being violated.
  7        WHEREFORE, Respondent respectfully requests that the Petition be denied
  8   and dismissed with prejudice.
  9
      Dated: July 20, 2009                          Respectfully submitted,
 10
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 11                                                 Attorney General of California
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 12                                                 Chief Assistant Attorney General
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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2                                PROCEDURAL HISTORY
  3        Following a jury trial in the Los Angeles County Superior Court, Petitioner
  4   was convicted of attempted willful, deliberate, premeditated murder, in violation of
  5   California Penal Code 2 sections 664/187(a) (count 1); assault with a firearm, in
  6   violation of section 245(a)(2) (counts 2 through 6); and shooting at an occupied
  7   motor vehicle, in violation of section 246 (counts 7 and 8). The jury also found, as
  8   to counts 1 and 2, that Petitioner personally inflicted great bodily injury, within the
  9   meaning of section 12022.7(a), and, as to counts 1, 7, and 8, that Petitioner
 10   personally used a firearm, within the meaning of section 12022.53(b), (c), and (d).
 11   The jury further found that the crime was committed for the benefit of a criminal
 12   street gang within the meaning of section 186.22(b)(1)(C). (2CT at 263-79; 3RT at
 13   417-23.) The trial court then found that Petitioner had one prior conviction
 14   pursuant to section 667(a)(1) and six prior “strike” convictions pursuant to sections
 15   667(b) through (i), and 1170.12(a) through (d), California’s Three Strikes law.
 16   (2CT at 315; 3RT at 440-41.)
 17        The trial court sentenced Petitioner to a total term of fifty-eight years plus one
 18   hundred seventy-five years to life in state prison. On count 1, the court imposed
 19   twenty-five years to life as a third strike, plus twenty-five years to life for the
 20   firearm enhancement and five years for the prior conviction enhancement under
 21   section 667(a)(1). On count 3, the court imposed a consecutive term of twenty-five
 22   years to life, as a third strike, plus four years for the firearm enhancement, ten years
 23   for the gang enhancement, and five years for the prior conviction enhancement
 24   under section 667(a)(1). On each of counts 4 through 6, the court imposed a
 25   consecutive term of twenty-five years to life, as a third strike, plus sixteen months
 26   for the firearm enhancement, three years and four months for the gang
 27         2
            All further statutory references are to the California Penal Code, unless
      otherwise indicated.
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  1   enhancement, and five years for the prior conviction enhancement under section
  2   667(a)(1). On count 8, the court imposed a consecutive term of twenty-five years
  3   to life, as a third strike, plus five years for the prior conviction enhancement under
  4   section 667(a)(1). On count 2, the court imposed and stayed a three-year sentence.
  5   On count 7, the court imposed and stayed a five-year sentence. (2CT at 315-24;
  6   3RT at 447-48.)
  7        Petitioner appealed his conviction. (LD A, B, F.) The California Court of
  8   Appeal affirmed the judgment and reversed and remanded for resentencing.3 (LD
  9   G.) Petitioner filed a petition for review in the California Supreme Court. (LD H.)
 10   On January 3, 2008, the California Supreme Court denied the petition. (LD I.)
 11        Petitioner constructively filed the instant Petition on March 29, 2009.
 12                                STATEMENT OF FACTS
 13        A.   Prosecution Evidence
 14        On November 4, 2005, at about 8:00 p.m., Carlos Andrade was in the front
 15   yard of a house in East Valinda when he saw a black Mustang being driven
 16   recklessly up and down the street. Andrade yelled at the driver, whom he
 17   recognized as Petitioner, to slow down. Petitioner stopped in front of the house,
 18   stepped out, and stared at Andrade for about one minute. Petitioner then went back
 19   to his car and drove away. (2RT at 69-73, 116.) Minutes later, Petitioner returned
 20   and exited his car with a handgun. Petitioner pointed the gun at Andrade and fired
 21   three or four shots. Andrade ran and was shot in the lower back. (2RT at 72-73,
 22   116-17, 138-43.)
 23        Just before the shooting occurred, Rene Bautista, accompanied by his wife and
 24   two children, pulled into his driveway next to the yard where Andrade stood.
 25   Bautista’s eleven-year-old son exited the car to open the driveway fence. Bautista
 26         3
              On remand, the trial court struck the section 186.22(b)(1(C) enhancements
      as to counts 3, 4, 5, and 6, and imposed an additional consecutive four years on
 27   each of counts 4, 5, and 6, in accordance with the California Court of Appeal’s
      opinion. (LD J.)
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  1   then heard loud gunshots coming from the direction of Andrade and yelled for his
  2   family to get down. (2RT at 134-37.) One of the gunshots struck Bautista’s
  3   vehicle door, and another struck Bautista’s garage door. (2RT at 138-40.)
  4        Los Angeles County Sheriff’s Deputy Thomas Gallagher responded to the
  5   incident and found Andrade suffering from a gunshot wound in a neighbor’s house.
  6   Andrade told the deputy that he was shot in the back by a neighborhood “cholo”
  7   known as “Toro.” He then said the shooter’s name was “Jose Borja.” (3RT at 175-
  8   78.) About ten minutes later, Deputy Gallagher spoke with Bautista, who said he
  9   saw a black Mustang pull up next to Andrade and the driver say something to
 10   Andrade. When Andrade did not respond, Petitioner got out and pointed a gun at
 11   him. (3RT at 179-81.)
 12        Bautista’s car had a bullet hole in the driver’s side door. After taking off the
 13   interior panel, Bautista found a bullet, which he gave to Los Angeles County
 14   Sheriff’s Detective Steven Skahill. There was also a bullet hole in Bautista’s
 15   garage door. The bullet went through the door and stopped in the drywall, where it
 16   was recovered. (2RT at 145-46; 3RT at 184-85.) The black Mustang was
 17   registered to Petitioner. (3RT at 284-85.)
 18        On November 9, 2005, Andrade identified Petitioner as the shooter in a six-
 19   pack photographic lineup. He also identified a photograph of Petitioner’s black
 20   Mustang with some damage to the front. (2RT at 77-81, 115-17.) Bautista
 21   identified two photographs, one of which was of Petitioner, in a six-pack as looking
 22   similar to the shooter. Bautista initially circled Petitioner’s photograph; he then
 23   circled the other photograph because that person had a similar mustache. (2RT at
 24   148-50; 3RT at 213-16.) Bautista had lived in the area for about four years and had
 25   often seen Petitioner driving his black Mustang. He identified photographs of
 26   Petitioner’s car. (2RT at 117-18, 139, 150-51.) Bautista told Detective Skahill that
 27   Petitioner was a Hurley Street gangster who lived around the corner at his mother’s
 28   house. Bautista previously had an encounter with Petitioner on July 4, 2005, when
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  1   Petitioner, driving his black Mustang, intentionally ran over Bautista’s dog. (2RT
  2   at 164-65; 3RT at 181-82, 218.)
  3          Andrade did not want to testify because he was afraid. He failed to appear in
  4   court as a witness as ordered and was arrested. (2RT at 87-88; 3RT at 237-38.)
  5   Bautista also did not want to testify and was afraid for his family. He told
  6   Detective Skahill that gang members had driven by his house and stared at him.
  7   (2RT at 155-56; 3RT at 238, 240.)
  8          Detective Skahill testified that there were two Hispanic gangs that claimed the
  9   area of the shooting: Hurley Street and the East Side Dukes. He explained that
 10   these criminal street gangs were involved in several types of criminal activities, and
 11   he described several Hurley Street gang members who had been convicted of
 12   violent crimes. Gang members gain respect in the community by committing
 13   crimes and instilling fear through intimidation. (3RT at 219-23, 235, 238-39, 246-
 14   48.)
 15          Petitioner claimed to be a member of Hurley Street and had numerous gang
 16   tattoos: “Hurley Street” across his chest and “SGV,” for “San Gabriel Valley,” on
 17   his arm. Field identification cards dated July 19, 2005, and February 5, 2005, noted
 18   Petitioner as a gang member with Hurley Street tattoos. (3RT at 223-24, 229-33.)
 19   Based on the facts of this case, Detective Skahill opined that the offenses were
 20   committed for the benefit of a criminal street gang. He explained that the shooting
 21   was committed by an active gang member in the gang’s territory after a “stare-
 22   down contest.” The shooter would have to “save face” for the gang in order to
 23   promote it. If a gang member was challenged by a member of the community and
 24   did not respond, he would be considered weak, and the gang would lose respect.
 25   (3RT at 233-37.) Detective Skahill noted that this incident was not a spontaneous
 26   act. Petitioner was driving erratically, and Andrade yelled at him to slow down.
 27   When Petitioner stopped in front of Andrade, they engaged in a “stare down” or
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  1   “mad dogging contest” for about a minute, until Petitioner left and came back to
  2   shoot Andrade. (3RT at 312-13.)
  3        B.    Defense Evidence
  4        Petitioner did not testify and presented no evidence.
  5                            PETITIONER’S CONTENTIONS
  6        1. It was prejudicial error for a gang expert to testify as to Petitioner’s guilt.
  7   (Pet. at 5.)
  8        2. Petitioner’s gang enhancement findings were based upon insufficient
  9   evidence. (Pet. at 5.)
 10        3. Petitioner’s convictions for assault against the Bautista family was based
 11   upon insufficient evidence. (Pet. at 6.)
 12                                        ARGUMENT
 13   I.   STANDARD OF REVIEW
 14        The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”)
 15   became effective on April 24, 1996. When a state court adjudicates a claim on the
 16   merits, the AEDPA bars federal habeas corpus relief on that claim unless the state-
 17   court adjudication was either (1) “contrary to, or involved an unreasonable
 18   application of, clearly established Federal law, as determined by the Supreme Court
 19   of the United States,” or (2) “based on an unreasonable determination of the facts in
 20   light of the evidence presented at the state Court proceeding.” 28 U.S.C. § 2254(d);
 21   Price v. Vincent, 538 U.S. 634, 638-39, 123 S. Ct. 1848, 155 L. Ed. 2d 877 (2003).
 22   This is a “‘highly deferential standard for evaluating state-court rulings’ which
 23   demands that state-court decisions be given the benefit of the doubt.” Woodford v.
 24   Visciotti, 537 U.S. 19, 24, 123 S. Ct. 357, 154 L. Ed. 2d 279 (2002) (per curiam)
 25   (quoting Lindh v. Murphy, 521 U.S. 320, 333 n.7, 117 S. Ct. 2059, 138 L. Ed. 2d
 26   481 (1997)).
 27        A state court decision is “contrary to” federal law if it either “applies a rule
 28   that contradicts the governing law” as set forth in Supreme Court cases, or reaches a
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  1   different decision from a Supreme Court case when confronted with materially
  2   indistinguishable facts. Williams v. Taylor, 529 U.S. 362, 405-06, 120 S. Ct. 1495,
  3   146 L. Ed. 2d 389 (2000); accord Bell v. Cone, 535 U.S. 685, 694, 122 S. Ct. 1843,
  4   152 L. Ed. 2d 914 (2002) (Bell I); Clark v. Murphy, 331 F.3d 1062, 1067 (9th Cir.
  5   2003). A state court makes an “unreasonable application” of federal law if the state
  6   court identifies the correct governing legal principle from the Supreme Court’s
  7   decisions, but unreasonably applies that principle to the facts of the prisoner’s case.
  8   Williams, 529 U.S. at 413; Bell I, 535 U.S. at 694; accord Lockyer v. Andrade, 538
  9   U.S. 63, 71, 123 S. Ct. 1166, 155 L. Ed. 2d 144 (2003) (“AEDPA does not require
 10   federal habeas court to adopt any one methodology in deciding only question that
 11   matters under § 2254(d)(1) -- whether state court decision is contrary to or involved
 12   unreasonable application of clearly established Federal law”).
 13        It is not enough merely to show that the state court was incorrect. Federal
 14   habeas corpus relief is not available simply because a federal court independently
 15   concludes “that the relevant state-court decision applied clearly established federal
 16   law erroneously or incorrectly. Rather, that application must also be unreasonable.”
 17   Williams, 529 U.S. at 411; accord Andrade, 538 U.S. at 75-76; Early v. Packer, 537
 18   U.S. 3, 11, 123 S. Ct. 362, 154 L. Ed. 2d 263 (2002); Bell I, 535 U.S. at 694;
 19   Lambert v. Blodgett, 393 F.3d 943, 978 (9th Cir. 2004) (“we may not review state
 20   court judgments on the same terms as we do for direct appeals”).
 21        If there is no Supreme Court precedent that controls a legal issue raised by a
 22   petitioner in state court, the state court’s decision cannot be contrary to, or an
 23   unreasonable application of, clearly established federal law. See Wright v. Van
 24   Patten, 128 S. Ct. 743, 747, 169 L. Ed. 2d 583 (2008); Carey v. Musladin, 549 U.S.
 25   70, 127 S. Ct. 649, 653-54, 166 L. Ed. 2d 482 (2006). Decisions of the Supreme
 26   Court are the only ones that can form the basis justifying habeas relief; lower
 27   federal courts cannot themselves establish such a principle to satisfy the AEDPA
 28   bar. Clark, 331 F.3d at 1069; Hernandez v. Small, 282 F.3d 1132, 1140 (9th Cir.
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  1   2002) (any principle on which a petitioner seeks to rely must be found in the
  2   holdings, as opposed to dicta, of the Supreme Court decisions). Under the AEDPA,
  3   “clearly established federal law” is the “governing legal principle or principles set
  4   forth by the Supreme Court at the time the state court renders its decision.”
  5   Andrade, 531 U.S. at 71; see also Williams, 529 U.S. at 412.
  6        A state court’s failure to cite any federal law in its opinion does not run afoul
  7   of the AEDPA. In fact, a state court need not even be aware of applicable Supreme
  8   Court precedents “so long as neither the reasoning nor the result of the state-court
  9   decision contradicts them.” Early, 537 U.S. at 8; Bell v. Cone, 125 S. Ct. 847, 853,
 10   160 L. Ed. 2d 881 (2005) (per curiam) (Bell II) (federal courts are not free to
 11   presume that a state court did not comply with constitutional dictates on the basis of
 12   nothing more than a lack of citation; federal courts must presume that the state
 13   court applied the same constitutionally sufficient review it used in earlier cases
 14   absent some contrary indication).
 15        Here, the California Court of Appeal affirmed Petitioner’s conviction in its
 16   entirety. The state appellate court rejected Petitioner’s instant claims on the merits
 17   on direct appeal. (LD G at 5-10, 13-15.) The California Supreme Court reached
 18   the merits of Petitioner’s claims when it denied his petition for review without
 19   citation to authority or a written opinion. (LD H, I.) Hunter v. Aispuro, 982 F.2d
 20   344, 348 (9th Cir. 1992). However, “[w]here there has been one reasoned state
 21   judgment rejecting a federal claim, later unexplained orders upholding that
 22   judgment or rejecting the same claim rest upon the same ground.” Ylst v.
 23   Nunnemaker, 501 U.S. 797, 803, 111 S. Ct. 2590, 115 L. Ed. 2d 706 (1991); Lacy
 24   v. Lewis, 123 F. Supp. 2d 533, 539-40 (C.D. Cal. 2000). Thus, the deferential
 25   standard of review under AEDPA applies to Petitioner’s claims. As set forth
 26   below, the AEDPA precludes relief in this case.
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  1   II.   THE CALIFORNIA COURT OF APPEAL DID NOT
            CONTRAVENE OR UNREASONABLY APPLY SUPREME
  2         COURT PRECEDENT WHEN IT FOUND THAT THE TRIAL
            COURT PROPERLY ADMITTED THE GANG EXPERT’S
  3         TESTIMONY
  4         In Ground One, Petitioner contends that it was prejudicial error “for a gang
  5   expert to testify as to Petitioner’s guilt.” 4 (Pet. at 5.) This claim fails to present a
  6   federal question. In addition, the California Court of Appeal rejected Petitioner’s
  7   claim on the merits (LD G at 8-10), and that determination is not contrary to, or an
  8   unreasonable application of, clearly established federal law as determined by the
  9   Supreme Court. Nor is the state court decision based on an unreasonable
 10   determination of the facts in light of the evidence presented.
 11         A.   The Relevant State Court Proceedings
 12         Detective Skahill testified about the Hurley Street gang and their general
 13   activities, territory, rivals, and customs. The detective then provided his opinion
 14   based on the facts of this case:
 15                 Q [Prosecutor]: . . . Having the knowledge of Hurley Street and
 16         an opinion with respect to [Petitioner] and any relationship he might have
 17         to Hurley Street and being familiar with the facts of this case, do you
 18         have an opinion with respect to whether this offense was committed for
 19         the benefit of or at the direction of or in association with a criminal street
 20         gang?
 21                 A [Detective Skahill]: Yes, sir. [¶] . . . The reason this is a gang-
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             4
              As supporting facts, Petitioner states, “See accompanying P’s & A’s and
 23   Exhibits in Support, incorporated herein by reference.” But he fails to attach any
      exhibits or further briefing to his Petition. On June 4, 2009, this Court rejected
 24   exhibits submitted by Petitioner on June 2, 2009. (June 4, 2009, Notice of
      Discrepancy and Order.) Nevertheless, even if this Court were to look at
 25   Petitioner’s similar claim in his state appellate brief (LD A at 15-21), this claim
      fails.
 26
             Similarly, in Grounds Two and Three, Respondent assumes that Petitioner’s
 27   similar claims in his state appellate brief (LD A at 9-15, 26-31) constitute part of
      his federal claims.
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  1       related incident, it’s committed by a gang member who is an active gang
  2       member. It happens in his own territory. And as described in the
  3       incident report itself, that the actions that [Petitioner] did or the things he
  4       committed, he had to more or less save face for the gang in order to – as
  5       far as promote it.
  6                 In the earlier testimony it was given that the vehicle that
  7       [Petitioner] was driving in up and down the street, that the shooting
  8       victim . . . had yelled at him to stop – to stop driving up and down the
  9       street in an erratic manner. [Petitioner] stopped the car and engaged in a
 10       stare down contest. Call it mad dogging on the street.
 11                 And after a minute or two of this, [Petitioner] got into the car, left
 12       the scene, drove away, came back about five to ten minutes later and in
 13       retribution for being fronted off he did the shooting, and he shot the
 14       victim.
 15                 The reason this is a gang-related incident is due to the fact that
 16       [Petitioner] is known in the area as a gang member. That was testified to
 17       by Deputy Gallagher and the other victim witnesses that they knew him
 18       as a gangster, cholo, [who] lived down around the corner. Even Mr.
 19       Bautista had told me that he was a Hurley Street gang member, which is
 20       the primary gang in that area – or one of the primary gangs.
 21                 There were people out in front in both instances, the first one in
 22       the front off or mad dogging or he was yelled at to stop driving up and
 23       down the street. You have somebody who’s a member of a community
 24       yelling at a gang member. In order for the gang member or the gang to
 25       save face, the gang member who’s been fronted off has to do something.
 26       He has to save face, both personally and for the gang because he’s been
 27       confronted.
 28                 If you’re out on the streets . . . if two gangs met out on the street
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  1        and a challenge was issued, if you didn’t return the challenge, you would
  2        be thought of [as] a coward and your gang would be thought of as weak.
  3        In this instance even though the victim is not a gang member, he’s a
  4        citizen and confronts a gang member, yells at him [to] stop driving the
  5        car so fast. That’s a challenge. He’s threatened him. Everybody sees
  6        this.
  7                So now, in order to save face for the gang and for himself, he has
  8        to do something, get some payback, retaliate. He comes back later on
  9        after the initial confrontation and shoots the victim. That is saving face
 10        because in the gang culture and everything out there, everybody knows
 11        who does what. They’re really close and interspersed in that territory.
 12        Word’s going to get out, so and so from somewhere, he got fronted off by
 13        nobody and he didn’t do nothing about it, so the gang will lose respect.
 14                If he does something, the respect goes up. His respect goes up
 15        within the gang itself too because he did something about it, he didn’t
 16        coward down. That’s how it becomes a gang incident.
 17   (3RT at 233-37.) Detective Skahill later stated that this shooting was a gang-related
 18   crime and not simply a “road rage” incident. (3RT at 313.) Defense counsel
 19   objected to the detective’s expert testimony on the grounds of foundation and
 20   relevance. (3RT at 221.)
 21         The California Court of Appeal rejected Petitioner’s gang expert claim on the
 22   merits on direct appeal. The appellate court noted that the California Supreme
 23   Court “has unequivocally held expert opinion testimony of the type admitted in this
 24   case is proper.” The court found that Detective Skahill’s “opinions were not only
 25   proper but also necessary to explain to the jury how a gang’s reputation and control
 26   over its territory is enforced . . . .” Accordingly, the trial court did not abuse its
 27   discretion in admitting the gang expert testimony. (LD G at 8-10.)
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  1        B.   Failure to State a Federal Constitutional Claim
  2         Petitioner’s claim fails to present a federal question. Federal habeas corpus
  3   is available only on behalf of a person in custody in violation of the Constitution or
  4   laws of the United States. 28 U.S.C. § 2254(a); Estelle v. McGuire, 502 U.S. 62,
  5   67, 112 S. Ct. 475, 116 L. Ed. 2d 385 (1991). Federal habeas is unavailable to retry
  6   state issues. Milton v. Wainwright, 407 U.S. 371, 377, 92 S. Ct. 2174, 33 L. Ed. 2d
  7   1 (1972). A federal court may not issue a writ of habeas corpus on the basis of a
  8   perceived error of state law. Pulley v. Harris, 465 U.S. 37, 41, 104 S. Ct. 871, 79
  9   L. Ed. 2d 29 (1984). A violation of state law standing alone is not cognizable in
 10   federal court on habeas. Park v. California, 202 F.3d 1146, 1149 (9th Cir. 2000);
 11   Jammal v. Van de Kamp, 926 F.2d 918, 919 (9th Cir. 1991); see also Dugger v.
 12   Adams, 489 U.S. 401, 409, 109 S. Ct. 1211, 103 L. Ed. 2d 435 (1989).
 13         Federal courts will not interfere with a state court’s evidentiary rulings unless
 14   the rulings were arbitrary or so prejudicial that they resulted in a trial which was
 15   fundamentally unfair in violation of due process. Walters v. Maass, 45 F.3d 1355,
 16   1357 (9th Cir. 1995); Jeffries v. Blodgett, 5 F.3d 1180, 1192 (9th Cir. 1993); Bueno
 17   v. Hallahan, 988 F.2d 86, 87 (9th Cir. 1993); Jammal, 926 F.2d at 919. Only in
 18   unusual cases will it be found that a state court ruling on state evidentiary law
 19   invokes a federal issue. Tinsley v. Borg, 895 F.2d 520, 530 (9th Cir. 1990). Here,
 20   the application of the routine rules of evidence does not present a federal question.
 21   Thus, Petitioner’s evidentiary claim fails.
 22         Despite any claim that Petitioner’s due process rights were violated (see LD
 23   A at 15, 17), the trial court’s evidentiary decisions were solely a matter of state law.
 24   “[A] petitioner may not ‘transform a state law issue into a federal one merely by
 25   asserting a violation of due process . . . .’” Poland v. Stewart, 169 F.3d 573, 584
 26   (9th Cir. 1999) (quoting Langford v. Day, 110 F.3d 1380, 1389 (9th Cir. 1996)).
 27   “Merely adding the phrase ‘due process’ to state law claims does not transform
 28   those claims into federal claims; rather, they remain state law claims ‘dressed up’ as

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  1   federal due process claims.” Lacy v. Lewis, 123 F. Supp. 2d 533, 551 (C.D. Cal.
  2   2000). “‘We cannot treat a mere error of state law, if one occurred, as a denial of
  3   due process; otherwise, every erroneous decision by a state court on state law
  4   would come here as a federal constitutional question.’” Little v. Crawford, 449
  5   F.3d 1075, 1083 n.6 (9th Cir. 2006). Petitioner has cited no federal constitutional
  6   right that would have demanded that any testimony by the gang expert was
  7   improper or should have been excluded at trial. Accordingly, Petitioner’s
  8   evidentiary claim must be dismissed as being not cognizable.
  9        C.   The Absence of Controlling Supreme Court Precedent Requires
                Rejection of Petitioner’s Claim; in any Event, It Was
 10             Reasonably Rejected by the California Court of Appeal
 11         Even assuming Ground One presents a federal claim, it warrants no federal
 12   habeas relief.
 13        Under AEDPA, even clearly erroneous admissions of evidence that
 14        render a trial fundamentally unfair may not permit the grant of federal
 15        habeas corpus relief if not forbidden by “clearly established Federal law,”
 16        as laid out by the Supreme Court. 28 U.S.C. § 2254(d). In cases where
 17        the Supreme Court has not adequately addressed a claim, this court
 18        cannot use its own precedent to find a state court ruling unreasonable. [¶]
 19        The Supreme Court has made very few rulings regarding the admission
 20        of evidence as a violation of due process. Although the Court has been
 21        clear that a writ should be issued when constitutional errors have
 22        rendered the trial fundamentally unfair, it has not yet made a clear ruling
 23        that admission of irrelevant or overtly prejudicial evidence constitutes a
 24        due process violation sufficient to warrant issuance of the writ. Absent
 25        such “clearly established Federal law,” we cannot conclude that the state
 26        court’s ruling was an “unreasonable application.” Under the strict
 27        standards of AEDPA, we are therefore without power to issue the writ on
 28        the basis of [the petitioner’s] . . . claims.
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  1   Holley v. Yarborough, 568 F.3d 1091, 1101 (9th Cir. 2009) (involving admission of
  2   evidence that defendant possessed pornographic and obscene materials) (footnote
  3   omitted).
  4         Accordingly, Ground One must be rejected due to the absence of controlling
  5   Supreme Court precedent compelling federal habeas relief on Petitioner’s claim that
  6   the admission of the alleged irrelevant and prejudicial gang evidence violated his
  7   due process rights. In any event, the claim was reasonably rejected on the merits by
  8   the California Court of Appeal for the reasons discussed below.
  9         The Ninth Circuit has held that, to be entitled to habeas corpus relief based
 10   on an error under state evidentiary law, Petitioner must show that the admission of
 11   the evidence rendered the trial so fundamentally unfair as to violate due process.
 12   Tinsley, 895 F.2d at 530. Petitioner has a heavy burden to show a due process
 13   violation based upon an evidentiary decision. Boyde v. Brown, 404 F.3d 1159,
 14   1172-73 (9th Cir. 2005).
 15         Due process is only violated where no permissible inferences can be drawn
 16   from admitted evidence. Jammal, 926 F.2d at 918. Evidence need not be powerful
 17   to be relevant. United States v. Rhodes, 229 F.3d 659, 661 (7th Cir. 2000). A
 18   permissible inference can be inferred from the use of gang evidence. Windham v.
 19   Merkle, 163 F.3d 1092, 103-04 (9th Cir. 1998). Evidence of gang affiliation is
 20   admissible when relevant to a material issue in the case. United States v. Abel, 469
 21   U.S. 45, 49, 105 S. Ct. 465, 83 L. Ed. 2d 450 (1984); see also United States v.
 22   Takahashi, 205 F.3d 1161, 1164-65 (9th Cir. 2000).
 23         Here, as found by the trial court and the state appellate court, the challenged
 24   evidence was admissible to prove the allegations of the street gang enhancement.
 25   Detective Skahill did not specifically testify as to Petitioner’s mental state or his
 26   motive. Rather, he responded to a hypothetical question based on the facts of this
 27   case and opined that the hypothetical crimes were committed for the benefit of a
 28   criminal street gang. Thus, the expert testimony was properly admitted.
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  1         Moreover, Petitioner has failed to show that any alleged error in admitting
  2   the expert testimony had a substantial and injurious effect or influence in
  3   determining the jury’s verdict. See Fry v. Pliler, 551 U.S. 112, 127 S. Ct. 2321,
  4   2328, 168 L. Ed. 2d 16 (2007) (even if state court does not have occasion to apply
  5   the test for assessing prejudice applicable under federal law, the Brecht standard
  6   applies uniformly in all federal habeas corpus cases under § 2254); Brecht v.
  7   Abrahamson, 507 U.S. 619, 637-38, 113 S. Ct. 1710, 123 L. Ed. 2d 353 (1993); see
  8   also Clark v. Brown, 450 F.3d 898, 916 (9th Cir. 2006) (reviewing under Brecht
  9   whether there was “a reasonable probability” that the jury would have reached a
 10   different result but for the alleged error); Henry v. Estelle, 33 F.3d 1037, 1041 (9th
 11   Cir. 1993) (Brecht harmless error standard applies to constitutional magnitude, trial
 12   type errors, and is the equivalent of harmless error standard under California law),
 13   rev’d sub nom on other grounds in Duncan v. Henry, 513 U.S. 364, 366, 115 S. Ct.
 14   887, 130 L. Ed. 2d 865 (1995).
 15         Even without Detective Skahill’s opinion testimony, there was strong
 16   evidence that Petitioner committed the instant crimes for the benefit of, or in
 17   association with, a criminal street gang. Petitioner was known in the neighborhood
 18   as a Hurley Street gang member who went by the moniker of “Toro.” (2RT at 164-
 19   65; 3RT at 175-82, 218.) Andrade and Bautista were each afraid to testify because
 20   of Petitioner’s gang status, and gang members had driven past Bautista’s house and
 21   stared after the shooting. (2RT at 87-88, 155-56; 3RT at 237-40.) Petitioner also
 22   claimed to be a member of Hurley Street and had numerous gang tattoos: “Hurley
 23   Street” across his chest and “SGV,” for “San Gabriel Valley,” on his arm. Field
 24   identification cards dated July 19, 2005, and February 5, 2005, noted Petitioner as a
 25   gang member with Hurley Street tattoos. (3RT at 223-24, 229-33.)
 26         The evidence is overwhelming that Petitioner committed the shootings
 27   against Andrade and the Bautista family. Andrade told Deputy Gallagher just
 28   minutes after he was shot that Petitioner was the shooter. Andrade identified
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  1   Petitioner’s name and gang moniker. (3RT at 175-78.) About ten minutes later,
  2   Deputy Gallagher spoke with Bautista, who said he saw a black Mustang pull up
  3   next to Andrade and the driver say something to Andrade. When Andrade did not
  4   respond, Petitioner got out and pointed a gun at him. (3RT at 179-81.) The black
  5   Mustang was registered to Petitioner. (3RT at 284-85.)
  6         Five days after the shooting, Andrade and Bautista each separately identified
  7   Petitioner as the shooter in a six-pack photographic lineup. They also identified a
  8   photograph of Petitioner’s black Mustang with some damage to the front. (2RT at
  9   77-81, 115-17.) Bautista identified two photographs, one of which was of
 10   Petitioner, in a six-pack as looking similar to the shooter. Bautista initially circled
 11   Petitioner’s photograph and circled another photograph only because that person
 12   had a similar mustache. (2RT at 148-50; 3RT at 213-16.) On these facts, any
 13   alleged error in admitting the challenged gang expert testimony did not have a
 14   substantial and injurious effect or influence upon the jury’s verdict. Accordingly,
 15   Ground One must be denied.
 16   III. THE CALIFORNIA COURT OF APPEAL DID NOT
           CONTRAVENE OR UNREASONABLY APPLY SUPREME
 17        COURT PRECEDENT WHEN IT FOUND THAT THERE WAS
           SUFFICIENT EVIDENCE TO SUPPORT THE GANG
 18        ENHANCEMENTS
 19         In Ground Two, Petitioner claims that there was insufficient evidence to
 20   prove the gang allegations. (Pet. at 5.) The California Court of Appeal rejected
 21   Petitioner’s claim on the merits (LD G at 5-8), and that determination is not
 22   contrary to, or an unreasonable application of, clearly established federal law as
 23   determined by the Supreme Court. Nor is the state court decision based on an
 24   unreasonable determination of the facts in light of the evidence presented.
 25        A.   The California Court of Appeal’s Opinion
 26         The California Court of Appeal found that sufficient evidence supported the
 27   criminal street gang enhancement. (LD G at 5-8.) The appellate court concluded
 28   that there was ample evidence from which the jury could conclude that Petitioner
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  1   committed the shooting for the benefit of his gang, including: the shooting occurred
  2   in the “heart of Hurley Street gang territory”; the “mad-dogging” stance Petitioner
  3   assumed with Andrade; and the ruthless nature of the attack, which served to
  4   intimidate the entire community and was consistent with typical gang demands for
  5   respect on its turf. (LD G at 7-8, citing People v. Johnson, 26 Cal. 3d 557, 578, 162
  6   Cal. Rptr. 431 (1980), which in turn cites Jackson v. Virginia, 443 U.S. 307, 315-
  7   19, 99 S. Ct. 2781, 61 L. Ed. 2d 560 (1979), for the “substantial evidence” test.)
  8        B.   The California Court of Appeal Reasonably Found Sufficient
                Evidence Supporting the Gang Enhancement
  9
 10        It is well established that evidence is sufficient to support a conviction if,
 11   viewing all the evidence in the light most favorable to the prosecution, any rational
 12   trier of fact could have found the essential elements of the crime beyond a
 13   reasonable doubt. Jackson, 443 U.S. at 319; see also In re Winship, 397 U.S. 358,
 14   364, 90 S. Ct. 1068, 25 L. Ed. 2d 368 (1970) (the Due Process Clause protects the
 15   accused against conviction except upon proof beyond a reasonable doubt of every
 16   fact necessary to constitute the crime with which he is charged). The same standard
 17   is used by California courts in determining the sufficiency of evidence. See People
 18   v. Bolin, 18 Cal. 4th 297, 331, 75 Cal. Rptr. 2d 412 (1998); Johnson, 26 Cal. 3d at
 19   575-78. The California Court of Appeal used this standard in determining that
 20   there was sufficient evidence to support Petitioner’s convictions. (LD G at 6.)
 21        In making this determination, the reviewing court “must respect the province
 22   of the jury to determine the credibility of witnesses, resolve evidentiary conflicts,
 23   and draw reasonable inferences from proven facts by assuming that the jury
 24   resolved all conflicts in a manner that supports the verdict.” Walters v. Maass, 45
 25   F.3d 1355, 1358 (9th Cir. 1995). The jury must be free to disbelieve testimony and
 26   to infer that the truth is otherwise when such an inference is supported by
 27   circumstantial evidence regarding the actions of the accused. Jackson, 443 U.S. at
 28   319. Moreover, under Jackson, the assessment of the credibility of witnesses is
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  1   generally beyond the scope of review. Schlup v. Delo, 513 U.S. 298, 330, 115 S.
  2   Ct. 851, 130 L. Ed. 2d 808 (1995). The Jackson test has been referred to as a “high
  3   standard.” See Jones v. Wood, 207 F.3d 557, 563 (9th Cir. 2000) (noting that
  4   although the evidence in that case was almost entirely circumstantial and relatively
  5   weak, it was sufficient to support the conviction). Insufficient evidence claims are
  6   reviewed by looking at the elements of the crime under state law. Jackson, 443
  7   U.S. at 324 n.16; Sarausad v. Porter, 479 F.3d 671, 678 (9th Cir. 2007).
  8        Under 28 U.S.C. § 2254(d)(1), the issue is whether the state court’s decision
  9   reflected an unreasonable application of Jackson and Winship to the facts of a
 10   particular case. Juan H. v. Allen, 408 F.3d 1262, 1274 (9th Cir. 2005) (under
 11   AEDPA, the Court applies “the standards of Jackson with an additional layer of
 12   deference” to the state court’s decision), cert. denied, 126 S. Ct. 1145 and 126 S.
 13   Ct. 1142 (2006). A federal habeas petitioner faces a “heavy burden” when
 14   challenging the sufficiency of the evidence used to obtain a state conviction on
 15   federal habeas grounds. Id. at 1275 (acknowledging the “deference owed to the
 16   trier of fact and, correspondingly, the sharply limited nature of constitutional
 17   sufficiency review”) (quoting Wright v. West, 505 U.S. 277, 296-97, 112 S. Ct.
 18   2482, 120 L. Ed. 2d 225 (1992)).
 19        Section 186.22(b)(1) imposes increased punishment for felonies “committed
 20   for the benefit of, at the direction of, or in association with any criminal street gang,
 21   with the specific intent to promote, further, or assist in any criminal conduct by
 22   gang members . . . .” Under California law, expert testimony on gang activities is
 23   admissible to prove elements of a section 186.22 gang enhancement. People v.
 24   Gardeley, 14 Cal. 4th 605, 617, 59 Cal. Rptr. 2d 356 (1997).
 25        The Ninth Circuit recently clarified the requirements for a gang enhancement
 26   under California law:
 27        First, the prosecutor must demonstrate that the defendant committed a
 28        felony “for the benefit of, at the direction of, or in association with [a]
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  1        criminal street gang.” Cal. Penal Code § 186.22(b)(1). Second, the
  2        prosecutor must show that the defendant committed the crime “with the
  3        specific intent to promote, further, or assist in any criminal conduct by
  4        gang members.” Id. We have previously recognized the importance of
  5        keeping these two requirements separate, and have emphasized that the
  6        second step is not satisfied by evidence of mere membership in a criminal
  7        street gang alone. See Garcia v. Carey, 395 F.3d 1099, 1102-03 & n.5
  8        (9th Cir. 2005).
  9   Briceno v. Scribner, 555 F.3d 1069, 1078 (9th Cir. 2009).
 10         In Briceno, the Ninth Circuit found that there was insufficient evidence to
 11   establish a “specific intent to promote, further, or assist in any criminal conduct by
 12   gang members” because “circumstantial evidence of intent” with respect to the
 13   robberies committed by the petitioner and his fellow Hard Times gang member was
 14   “wholly lacking.” Briceno, 555 F.3d at 1081. The Ninth Circuit noted that the
 15   robberies were not committed in Hard Times territory or on the “turf” of a rival
 16   gang, neither the petitioner nor his fellow gang member made their gang
 17   membership known to the robbery victims, and there was no evidence whatsoever
 18   of any connection between the gang and the robberies. Id. The Ninth Circuit also
 19   found that an expert’s testimony by itself could not establish sufficient evidence of
 20   the specific intent requirement, especially where there is evidence that the
 21   defendant had a different motivation, such as financial gain. Id.
 22         But where there is circumstantial evidence, other than the gang expert’s
 23   opinion, of the defendant’s intent to commit the crime for the benefit of a criminal
 24   street gang, a jury could reasonably infer that the defendant committed the crime
 25   within the meaning of section 186.22(b)(1). Huerta v. Hedgepeth, 2009 WL
 26   1181631, *17 n.14 (C.D. Cal. 2009); see also Williams v. Evans, 2009 WL
 27   1460832, *25-27 (E.D. Cal. 2009); Mendoza v. Attorney Gen. of State of Cal., 2009
 28   WL 926814, *14 (E.D. Cal. 2009).
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  1         Here, in contrast to Briceno and Garcia, there was circumstantial evidence of
  2   Petitioner’s intent to commit the crime for the benefit of a criminal street gang, in
  3   addition to the gang expert’s opinion testimony. Detective Skahill testified that
  4   Hurley Street was a criminal street gang that was active in the East Valinda area,
  5   where the shooting occurred. The detective opined that, based on the facts of this
  6   case, Petitioner was a member of that gang. This opinion was amply supported by
  7   Petitioner’s conspicuous tattoo on his chest proclaiming his support for the gang
  8   and its greater area of San Gabriel Valley. Field identification cards from other
  9   officer contacts, dated July 19, 2005, and February 5, 2005, also noted Petitioner as
 10   a gang member with Hurley Street tattoos. (3RT at 223-24, 229-33.) Further,
 11   Andrade told the deputy that he was shot in the back by a neighborhood “cholo”
 12   known as “Toro.” He then identified the shooter as Petitioner. (3RT at 175-78.)
 13   Bautista also told Detective Skahill that Petitioner was a Hurley Street gangster
 14   who he knew lived in his neighborhood. (2RT at 164-65; 3RT at 181-82, 218.)
 15         Detective Skahill explained that the instant shooting was committed by an
 16   active gang member in his gang’s territory after a “stare-down contest.” The
 17   shooter would have to “save face” for the gang in order to promote it. If a gang
 18   member was challenged by a member of the community and did not respond, he
 19   would be considered weak, and the gang would lose respect. (3RT at 233-37.)
 20   Detective Skahill noted that this incident was not a spontaneous act. Petitioner was
 21   driving erratically, and Andrade yelled at him to slow down. When Petitioner
 22   stopped in front of Andrade, they engaged in a “stare down” or “mad dogging
 23   contest” for about a minute, until Petitioner left and came back to shoot Andrade.
 24   (3RT at 312-13.) Finally, Detective Skahill provided an expert opinion that the
 25   crimes of attempted murder, assault with a firearm, and shooting at an occupied
 26   motor vehicle, in counts 1 through 8, were committed for the benefit of a criminal
 27   street gang. Specifically, he opined that Petitioner’s firing his gun at Andrade
 28   would benefit the Hurley Street criminal street gang by maintaining respect and fear
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  1   in the community.
  2         Accordingly, there was ample evidence from which a reasonable trier of fact
  3   could conclude beyond a reasonable doubt that Petitioner committed the crimes in
  4   association with and for the benefit of his gang. The California Court of Appeal
  5   agreed, finding that the jury could have reasonably found that Petitioner committed
  6   the crimes for the benefit of the gang. (LD G at 8.) Petitioner is essentially asking
  7   this Court to draw different inferences from those drawn by the jury and reweigh
  8   the evidence. This is impermissible. See Shumate v. Newland, 75 F. Supp. 2d
  9   1076, 1097 (N.D. Cal. 1999) (habeas petitioner’s sufficiency argument rejected
 10   because he was not allowed to “re-hash” the weight of the evidence on habeas).
 11   Accordingly, Petitioner’s sufficiency claim must be rejected.
 12   IV. THE CALIFORNIA COURT OF APPEAL DID NOT
          CONTRAVENE OR UNREASONABLY APPLY SUPREME
 13       COURT PRECEDENT WHEN IT FOUND THAT THERE WAS
          SUFFICIENT EVIDENCE TO SUPPORT THE ASSAULT
 14       CONVICTIONS
 15         In Ground Three, Petitioner claims that there was insufficient evidence to
 16   support his convictions for assault against the Bautista family in counts 3 through 6.
 17   (Pet. at 6.) The California Court of Appeal rejected Petitioner’s claim on the merits
 18   (LD G at 13-15), and that determination is not contrary to, or an unreasonable
 19   application of, clearly established federal law as determined by the Supreme Court.
 20   Nor is the state court decision based on an unreasonable determination of the facts
 21   in light of the evidence presented.
 22        A.   The California Court of Appeal’s Opinion
 23         The California Court of Appeal found that sufficient evidence supported the
 24   assault convictions. (LD G at 13-15.) The appellate court held that there was
 25   sufficient evidence from which the jury could conclude that Petitioner harbored the
 26   necessary intent to assault the members of the Bautista family, including: the
 27   Bautistas’ car had just driven into the driveway adjacent to the yard where Andrade
 28   stood when Petitioner fired, and there was no evidence Petitioner did not see the car
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  1   or its occupants. The appellate court found that a reasonable person would have
  2   realized if he fired at a person standing with friends in front of a home in a
  3   residential neighborhood early on a Friday evening, the bullet could strike other
  4   pedestrians or residents, whether or not those individuals were intended targets.
  5   The California Court of Appeal noted that this case was similar to People v. Riva,
  6   112 Cal. App. 4th 981, 997, 5 Cal. Rptr. 3d 649 (2003), which found sufficient
  7   evidence to support the necessary intent. (LD G at 13-15.)
  8        B.   The California Court of Appeal Reasonably Found Sufficient
                Evidence Supporting the Assault Convictions on Counts Three
  9             Through Six
 10         As stated previously, evidence is sufficient to support a conviction if,
 11   viewing all the evidence in the light most favorable to the prosecution, any rational
 12   trier of fact could have found the essential elements of the crime beyond a
 13   reasonable doubt. Jackson, 443 U.S. at 319; see also Winship, 397 U.S. at 364.
 14   After noting the “substantial evidence” test in its discussion of the previous claim
 15   (LD G at 6), the California Court of Appeal clearly applied this standard in
 16   determining that there was sufficient evidence to support Petitioner’s convictions.
 17   (LD G at 13-15.)
 18         To prove an assault in violation of section 245(a)(2), the prosecution must
 19   establish that (1) a person was assaulted and (2) the assault was committed with a
 20   firearm. An assault is “an unlawful attempt, coupled with the present ability, to
 21   commit a violent injury on the person of another.” § 240; see People v. Griggs, 216
 22   Cal. App. 3d 734, 739, 265 Cal. Rptr. 53 (1989). Present ability means that a
 23   defendant has “maneuvered himself into such a location and equipped himself with
 24   sufficient means that he appears to be able to strike immediately at his intended
 25   victim.” People v. Valdez, 175 Cal. App. 3d 103, 112, 220 Cal. Rptr. 538 (1985).
 26   Pointing a loaded gun in a threatening manner at a victim constitutes an assault,
 27   because the assailant has the present ability to inflict a violent injury on the other
 28   and the act by its nature will probably and directly result in such injury. People v.
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  1   Williams, 26 Cal. 4th 779, 782, 111 Cal. Rptr. 2d 114 (2001). Once a defendant has
  2   attained the means and location to strike immediately, he has the present ability to
  3   injure, for the purposes of finding that he has committed an assault. People v.
  4   Raviart, 93 Cal. App. 4th 258, 267, 112 Cal. Rptr. 2d 850 (2001).
  5         Assault is a general intent crime; therefore, there is no intent to transfer.
  6   People v. Lee , 28 Cal. App. 4th 1724, 1737, 34 Cal. Rptr. 2d 723 (1994). The
  7   defendant need not intend to strike any particular person to be guilty of such an
  8   assault. Id. Rather, when the defendant shoots into a group of persons primarily
  9   targeting only one of them, he can be convicted of assault with a deadly weapon as
 10   to the nontargeted members. People v. Bland, 28 Cal. 4th 313, 329, 121 Cal. Rptr.
 11   2d 546 (2002).
 12         Here, Petitioner fired multiple shots at Andrade, the victim in counts 1 and 2,
 13   as Andrade turned to run away in front of a house on a residential street. The
 14   Bautista family, the victims in counts 3 through 6, were pulling into their driveway
 15   next door as the shots were fired. One bullet struck the Bautista vehicle, while
 16   another struck the Bautista house. In pointing and shooting his gun, Petitioner
 17   clearly had the present ability to inflict a violent injury on the victims.
 18         To the extent Petitioner argues, as he did on direct appeal, that there was no
 19   evidence that he was aware of the presence of the Bautistas (see LD A at 26-31),
 20   the argument was reasonably rejected by the California Court of Appeal. In Riva,
 21   112 Cal. App. 4th at 998, the California Court of Appeal found that the facts of that
 22   case “would lead a reasonable person to realize if he fired a gun at someone in a car
 23   at this time of day in this kind of neighborhood the bullet could strike a pedestrian
 24   and a battery would directly, naturally and probably result from his conduct.” Id.
 25   Similarly, here, a reasonable person would realize that firing a gun at someone in
 26   the front yard of a residential street in the early evening could cause a bullet to
 27   strike a nearby pedestrian or resident and that a battery would directly, naturally,
 28   and probably result from his conduct. Accordingly, the evidence was sufficient to
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  1   support Petitioner’s convictions for assault in counts 3 through 6.
  2         The California Court of Appeal concluded that the jury could have
  3   reasonably found that Petitioner harbored the necessary intent to assault the
  4   Bautista family. (LD G at 15.) Petitioner is again essentially asking this Court to
  5   draw different inferences from those drawn by the jury and reweigh the evidence.
  6   This is impermissible. See Shumate, 75 F. Supp. 2d at 1097. Accordingly,
  7   Petitioner’s sufficiency claim must be rejected.
  8                                     CONCLUSION
  9         For the foregoing reasons, Respondent respectfully requests the Petition for
 10   Writ of Habeas Corpus be denied and dismissed with prejudice.
 11   Dated: July 20, 2009                          Respectfully submitted,
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